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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Siemens Product Lifecycle Management
Software Inc.

v.                                           Case Number: 4:18−cv−02344

Does 1− 107, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Nancy F Atlas
PLACE:
Courtroom 9F
United States District Court
515 Rusk Ave
Houston, TX
DATE: 10/30/2018

TIME: 11:30 AM
TYPE OF PROCEEDING: Miscellaneous Conference


Date: October 9, 2018
                                                        David J. Bradley, Clerk
